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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANTHONY AUTRY ,
              Plaintiff,                        :
      v.                                        :       Civ. No. 23-1501
                                                :
CITY OF PHILDELPHIA, et. al.                    :
               Defendants,                      :
                                                :


                                  SCHEDULING ORDER

     AND NOW, this 26th day of April, 2024, it is ORDERED as follows:

  1. A trial for the above-captioned case shall be held on August 27, 2024, at 9:30 a.m. in
     Courtroom 14A, United States District Court, 601 Market Street, Philadelphia, PA 19106.

  2. A final pretrial conference is scheduled for August 21, 2024, at 11:00 a.m. in Room 14614,
     United States District Court, 601 Market Street, Philadelphia, PA 19106. Lead Trial
     Counsel must attend. It is the responsibility of any trial counsel who cannot attend to
     contact the court as soon as any conflict becomes known so the court may consider
     rescheduling the conference. Unless the court has otherwise granted permission, whoever
     attends the final pretrial conference will try the case. In addition to each trial counsel, each
     plaintiff and defendant or, in the case of a corporate Party, a representative with full
     authority to settle the case shall attend. Telephone availability is not acceptable unless
     leave of court has been granted. Failure to comply with this order may result in sanctions
     in accordance with the Federal Rules of Civil Procedure.
             As outlined below, all motions in limine, evidentiary motions, stipulations of facts,
     all depositions that will be introduced as testimony, and any and all other legal disputes
     that the Parties are aware of shall be due before the final pretrial conference so that they
     may be resolved before trial begins.

  3. The Parties shall propound all interrogatories and requests for document production no
     later than May 3, 2024. The Parties shall respond to all written discovery requests no later
     than May 10, 2024.          THESE RESPONSES SHALL INCLUDE ALL INITIAL

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   DISCLOSURES CONTEMPLATED BY RULE 26(a)(1). All discovery shall proceed and
   continue in such manner as will assure that all requests for, and responses to, discovery
   will be noticed, served, and completed no later than May 28, 2024.

4. This matter is referred to United States Magistrate Judge Elizabeth T. Hey for a settlement
   conference on or about June 4, 2024. PLAINTIFF’S COUNSEL SHALL CONTACT
   DEFENDANT’S COUNSEL, AND THEN THE PARTIES SHALL JOINTLY
   CONTACT JUDGE HEY’S CHAMBERS TO ARRANGE THIS CONFERENCE. If the
   Parties believe that a settlement conference would be helpful at an earlier time, they are
   directed to contact Judge Hey to schedule the same. Judge Hey will require that lead
   counsel and Parties with full settlement authority attend the conference.

5. Any summary judgment motion or other dispositive motion, together with supporting brief,
   shall be filed on or before June 11, 2024. Responses shall be filed on or before June 25,
   2024.

6. Plaintiff shall propose stipulated facts and submit those proposed stipulated facts to
   Defendant on or before July 25, 2024. Defendant shall state agreement or disagreement
   with each of Plaintiff’s proposed stipulated facts and may counter-propose stipulated facts
   on or before July 29, 2024. Plaintiff is obligated to respond on or before August 1, 2024.

7. In accordance with Fed. R. Civ. P. 26(a)(3), listed exhibits shall be numbered and pre-
   marked for use at trial; no exhibit shall be listed unless it is already in the possession of
   opposing counsel. Only specifically listed exhibits may be used in the Party’s case-in-chief
   except by leave of court.

8. Counsel for each Party shall serve upon counsel for the other Party on or before August 1,
   2024:

       a. a copy of each exhibit they expect to offer at trial in furtherance of their respective
           contentions. Each exhibit shall be marked as it will be marked for trial;

       b. curriculum vitae for each expert witness expected to testify; and


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       c. a specific identification of each discovery item expected to be offered into evidence.

9. Counsel shall also provide the Court with one copy of all of these items, on three-hole
   punched paper, on or before August 15, 2024.

10. As to documents listed in accordance with Fed. R. Evid. 803(6), as amended, notice in
   accordance with Fed. R. Evid. 902 (11) or (12) must be given on or before August 1, 2024.

11. All witnesses as to liability and damages should be listed. Only listed witnesses may testify
   at trial except by leave of court. Any Party who intends to use deposition testimony at trial
   must submit deposition designations by July 25, 2024. Counter-designations shall be
   submitted by July 29, 2024. Objections to the designations shall be submitted on or before
   August 1, 2024.

12. Any other pretrial or trial matter requiring attention of the judge prior to trial, shall be
   specifically addressed in the final pretrial conference.

13. All Parties shall prepare and file with the Clerk of the Court their pretrial memoranda as
   by August 8, 2024.

14. All motions in limine shall be filed on or before August 8, 2024. Responses thereto are
   due on or before August 15, 2024.

15. On or before August 8, 2024, after meeting and conferring, the Parties shall jointly submit
   proposed jury voir dire questions, jury interrogatories, verdict sheets, and proposed jury
   instructions on three-hole punched paper. The Parties shall individually submit any
   proposed questions, interrogatories, sheets, or instructions upon which the Parties after
   conferring cannot agree. All questions, interrogatories, sheets, and instructions shall be
   submitted in paper form and on computer disk to the Court.

16. On or before August 15, 2024 the relevant Party shall submit to the Court one additional
   copy of the following:

       a. Answer;


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          b. Complaint;

          c. Pretrial Memorandum;

          d. Stipulated Facts;

          e. Proposed Jury Voir Dire Questions;

          f. Proposed Jury Interrogatories;

          g. Proposed Jury Instructions; and

          h. Proposed Verdict Sheet.

   17. The Parties shall also provide the Court with an electronic copy of the above documents in
       Word format.




                                                           AND IT IS SO ORDERED.




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                                                           ___________________
                                                           Paul S. Diamond, J.
April 26, 2024




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